         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                         No. 1D2024-1083
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CEDRIC MOORE,

    Petitioner,

    v.

CORRELL SALTER,

    Respondent.
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Petition for Writ of Mandamus—Original Jurisdiction.


                        August 21, 2024


PER CURIAM.

    The Court converts this case to an appeal of the final order
rendered in Escambia Circuit Court case number 2022-DR-000997
and dismisses the appeal as untimely filed. See Fla. R. App. P.
9.110(b).

LEWIS, B.L. THOMAS, and WINOKUR, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Cedric Moore, pro se, Petitioner.

No appearance for Respondent.




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